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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

 EPHROM CRAY,

        Plaintiff,

 v.                                               CASE NO.:

 TEMPOE LLC, d/b/a WHY NOT LEASE
 IT,

        Defendant.
                                              /

                                          COMPLAINT

       Plaintiff, EPHROM CRAY, by and through his undersigned counsel, alleges that

Defendant, TEMPOE LLC, d/b/a WHY NOT LEASE IT, “robo-called” him more than 30 times

in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq. (“TCPA”).

                                        INTRODUCTION

       1.      “Robocalls” are the #1 consumer complaint in America today.

       2.       The FTC reported over 3.2 million complaints about robocalls in 2014, of which

almost half (1,678,433) occurred after the consumer had already requested that the company stop

calling. Federal Trade Commission, National Do Not Call Registry Data Book, FY 2014, at 5

(Nov. 2014). Since this report, the number of complaints has increased. Robocalls are very

inexpensive to make. As was noted in a Senate hearing on the subject: “With such a cheap and

scalable business model, bad actors can blast literally tens of millions of illegal robocalls over the

course of a single day at less than 1 cent per minute.” Senate Hearing at 5.

       3.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the FCC




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every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal.

       4.       The TCPA was enacted to prevent companies like Defendant from invading

American citizens’ privacy and prevent illegal robocalls.

       5.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

decided that "banning" such calls made without consent was "the only effective means of

protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

       6.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       7.      According to findings by the FCC-the agency Congress vested with authority to

issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

wireless customers are charged for incoming calls whether they pay in advance or after the minutes

are used.




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       8.      Robocalls cause real emotional and money damages for individuals and their

families.

                                 JURISDICTION AND VENUE

       9.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

       10.     The alleged violations described in the Complaint occurred in Archer, FL.

                                 FACTUAL ALLEGATIONS

       11.     Plaintiff is a natural person, and a citizen of the United States, residing in Archer,

FL.

       12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       13.     Defendant is a corporation, with its principal place of business in at 550 Kearny

Street, Suite 320, San Francisco, CA 94108 and conducting business in the state of Florida, through

its registered agent C T Corporation System, 1200 South Pine Island Road, Plantation, FL 33324.

       14.     Defendant made a call to Plaintiff’s cellular telephone, (352) 870-1632.

       15.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(352) 870-1632.

       16.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such a frequency as can be

reasonably expected to harass.

       17.     Defendant made at least one call to Plaintiff using an “automatic telephone dialing

system” (ATDS), as defined in the TCPA, 47 U.S.C. § 227(a)(1).

       18.     Each call Defendant made to Plaintiff was made using an ATDS.




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       19.     Defendant made at least one call to Plaintiff’s cellular telephone using an artificial

or prerecorded voice, as specified by the TCPA, 47 U.S.C. § 227 (b)(1)(A).

       20.     Each call Defendant made to Plaintiff’s cellular telephone was with an artificial or

prerecorded voice, as specified by the TCPA, 47 U.S.C. § 227 (b)(1)(A).

       21.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

       22.     None of Defendant’s telephone calls placed to Plaintiff were with Plaintiff’s “prior

express consent.”

       23.     Immediately upon receipt of the calls, Plaintiff answered a call from Defendant and

informed an agent/representative of the Defendant that their incessant calls were harassing him

and demanded that Defendant cease placing calls to his aforementioned cellular telephone number.

       24.     During     the   aforementioned       phone    conversation     with     Defendant’s

agent/representative, Plaintiff expressly revoked any express consent Defendant may have

mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular

telephone numbers by the use of an ATDS or a pre-recorded or artificial voice.

       25.     Each subsequent call Defendant made to Plaintiff’s aforementioned cellular

telephone numbers was done so without the “express permission” of Plaintiff.

       26.     Each of Plaintiff’s conversations with the Defendant demanding an end to the

harassment were ignored.

       27.     Defendant has recorded at least one conversation with Plaintiff  

       28.     Defendant has recorded numerous conversations with Plaintiff.  




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         29.   Despite actual knowledge of their wrongdoing, and that they did not have Plaintiff’s

consent, the Defendant continued its barrage of phone calls to Plaintiff’s aforementioned cellular

telephone numbers in an attempt to collect a debt.

         30.   Defendant made at least one call to (352) 870-1632 using an ATDS.

         31.   Defendant made at least twenty (20) calls to (352) 870-1632 using an ATDS.  

         32.   Defendant made at least fifty (50) calls to (352) 870-1632 using an ATDS.

         33.   Defendant made at least one call to (352) 870-1632 using a pre-recorded or artificial

voice.

         34.   Each call the Defendant made to Plaintiff in the last four years was made using an

ATDS.

         35.   Defendant placed approximately 50 automated calls to Plaintiff’s aforementioned

cellular telephone (or as will be established after a thorough review of Defendant’s records),

despite Plaintiff revoking any consent Defendant may have had to place calls to his aforementioned

cellular telephone number.

         36.   By effectuating these unlawful phone calls, Defendant has caused Plaintiff the very

harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

         37.   Defendant’s aggravating and annoying phone calls trespassed upon and interfered

with Plaintiff’s rights and interests in his cellular telephone and cellular telephone line, by

intruding upon Plaintiff’s seclusion.

         38.   Defendant’s phone calls harmed Plaintiff by wasting his time.

         39.   Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the




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battery life on his cellular telephone, and by using minutes allocated to Plaintiff by his cellular

telephone service provider.

       40.     Defendant’s corporate policy and procedures is structured as to continue to call

individuals like Plaintiff, despite these individuals revoking any consent the Defendant may have

had.

       41.     Defendant’s, corporate policy and procedures provided no means for Plaintiff to

have his aforementioned cellular numbers removed from the call list.

       42.     Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

voice message to collect debts from individuals such as Plaintiff for its financial benefit.

       43.     Plaintiff expressly revoked any consent Defendants may have had for placement of

telephone calls to Plaintiff’s aforementioned cellular telephone by the use of an ATDS or a pre-

recorded or artificial voice immediately upon Defendants’ placement of the calls.

       44.     Defendant violated the TCPA with respect to Plaintiff.

       45.     Defendant willfully or knowingly violated the TCPA with respect to Plaintiff.

                                             COUNT I

                                     (Violation of the TCPA)

       46.     Plaintiff incorporates Paragraphs one (1) through forty-five (45).

       47.     Defendant caused placement of non-emergency telephone calls to Plaintiff’s

cellular telephone using an ATDS or prerecorded or artificial voice without Plaintiff’s prior

express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       48.     Defendant willfully and knowingly caused placement of non-emergency telephone

calls to Plaintiff’s cellular telephone using an ATDS or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).




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       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                              Respectfully submitted,

                                             s/Amanda J. Allen
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